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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO

 GIROUX et al.,                               :

                Plaintiff,                    :          Case No. 1:22-cv-000309-DRC

                    -vs-                      :          Judge Douglas R. Cole

 LAROSE et al.,                               :

                Defendant.                    :



       STIPULATED MOTION FOR AN EXTENSION OF TIME TO MOVE OR PLEAD

       Pursuant to Rule 6.1 and 7.3 of the Local Civil Rules of the United States District Court

for the Southern District of Ohio, Defendants Ohio Secretary of State Frank LaRose, as an

individual and in his official capacity, and the Hamilton County Board of Elections by and through

the undersigned counsel, respectfully submits this unopposed Stipulated Motion for an Extension

of Time to Move or Plead to Plaintiffs’ Complaint.

       Although Plaintiffs have yet to perfect service, Defendants voluntary waive service of

summons and respectfully request until August 8, 2022 to move, plead, or otherwise respond to

Plaintiffs’ Complaint.

       A proposed order is attached hereto.




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                                      Respectfully submitted,

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                                      Board of Elections




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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been filed on June 24, 2022 via the Court’s CM/ECF

system, which will effect service on all parties.



                                              /s/ Mark D. Wagoner, Jr._________________
                                              Mark D. Wagoner, Jr.




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